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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )              CASE NO. 8:07CR30
                                               )
              Plaintiff,                       )
                                               )               MEMORANDUM
              vs.                              )                AND ORDER
                                               )
THIRUGNANAM RAMANATHAN,                        )
                                               )
              Defendant.                       )


       This matter is before the Court on the Report and Recommendation (Filing No. 109)

issued by Magistrate Judge Thomas D. Thalken recommending denial of the motion to

dismiss Counts One, Twenty-two and Twenty-three filed by the Defendant, Thirugnanam

Ramanathan (Filing No. 65). Ramanathan filed a statement of objections to the Report

and Recommendation and a supporting brief (Filing Nos. 111, 112) as allowed by 28

U.S.C. § 636(b)(1)(C) and NECrimR 57.3(a).

                                FACTUAL BACKGROUND

       Ramanathan is one of three individuals charged in a twenty-three count Indictment.

Specifically, Ramanathan is charged with: conspiracy, in violation of 18 U.S.C. § 371

(Count One); computer fraud, in violation of 18 U.S.C. § 1030(a)(4) (Counts Eight and

Nine); and aggravated identity theft or aiding and abetting thereof, in violation of 18 U.S.C.

§§ 1028A and 2 (Counts Twenty-two and Twenty-three). (Filing No. 5.) In Counts Twenty-

two and Twenty-three the government has charged him as a principal, an aider and

abettor, and under the Pinkerton theory. (Filing No. 5; Filing No. 73, at 5 n.2.)

       By way of background, Ramanathan was arrested in Hong Kong under a United

States provisional arrest request. The United States requested Ramanathan’s extradition
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on the charges set out in the Indictment, including a certified copy of the Indictment with

the arrest request. Ramanathan appeared before a Magistrates’ Court of the Hong Kong

Special Administration Region and consented to his extradition to the United States.

Pursuant to Section 13(1) of the Fugitive Offenders Ordinance, Chapter 503, the Chief

Executive of the Hong Kong Special Administrative Region signed an Order for Surrender

of Ramanathan to the United States “in respect of the following offences - (1) offences

involving the unlawful use of computers; and (2) conspiracy to commit offences involving

the unlawful use of computers.” (Filing No. 81, Order for Surrender.) Ramanathan was

surrendered and appeared in this Court on the charges in the Indictment. (Filing No. 29.)

       Ramanathan filed a motion to dismiss Counts One, Twenty-two and Twenty-three,

arguing that his prosecution under those counts is barred by the doctrine of specialty.

(Filing No. 65.) Ramanathan argued that the doctrine of specialty provides that he may

only be tried for the offenses specified by the asylum country, Hong Kong: offenses

“involving the unlawful use of computers”; and “conspiracy to commit offences involving the

unlawful use of computers.” He further argued that while Counts Eight and Nine are

included within those categories, Counts One, Twenty-two and Twenty-three are not.

(Filing Nos. 65, 66.)

       Following an evidentiary hearing, Judge Thalken recommended denial of the motion

to dismiss, issuing a Report and Recommendation in which he concluded: “[p]rosecution

of Ramanathan on all of the charges in the Indictment would not constitute an

‘indiscriminate prosecution by the receiving government’”; and the Surrender Order’s

recitation of charges includes those charges in the Indictment that are in question.



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Ramanathan objects to those conclusions in the Report and Recommendation, raising

primarily the same arguments raised before Judge Thalken.

                                 STANDARD OF REVIEW

       Pursuant to 28 U.S.C. § 636(b)(1)(C) and NECrimR 57.3(a), the Court shall make

a de novo determination of those portions of the report, findings, and recommendations

to which the Defendant has objected. The Court may accept, reject, or modify, in whole

or in part, the Magistrate Judge's findings or recommendations. The Court may also

receive further evidence or remand the matter to the Magistrate Judge with instructions.

                                 STATEMENT OF FACTS

       The Court has considered the transcript of the hearing conducted by the Magistrate

Judge (Filing No. 86). The Court also carefully viewed the evidence. 1 There are no

objections to Judge Thalken’s factual findings. Based on the Court’s de novo review of the

evidence and arguments, the Court adopts Judge Thalken’s factual findings in their

entirety.

                                         ANALYSIS

       The doctrine of specialty limits the prosecution of offenses for which a fugitive may

be tried by the receiving government. United States v. Rauscher, 119 U.S. 407, 422-23

(1886). The doctrine, which provides that a defendant may only be tried for the offense for

which he was surrendered by the asylum country, seeks to avoid indiscriminate

prosecution by receiving countries. United States v. Zackery, 494 F.3d 644, 652 n.2 (8th

Cir. 2007) (quoting Leighnor v. Turner, 884 F.2d 385, 389 (8th Cir. 1989)), petition for cert.

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       For future reference, defense counsel shall abide by NECrimR 12.3(b)(2) and
49.2(a)(2) rather than attaching evidentiary material to a brief.

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filed, __ U.S.L.W. __ (U.S. Dec. 4, 2007) (No. 07-8034). As the parties agree, a court must

look to the totality of the circumstances under which a surrender order was issued to

determine whether a violation of the doctrine of specialty has occurred. United States v.

Saccoccia, 58 F.3d 754, 767 (1st Cir. 1995). This principle is stated in the Hong Kong

Extradition Treaty (“Treaty”): “the conduct of the person shall be examined by reference

to the totality of the acts or omissions alleged against the person without reference to the

elements of the offence prescribed by the law of the requesting Party.” (Filing No. 81,

Treaty, Article 2, ¶ (3).)

       Under the Treaty, a surrender order “shall identify the offences by reference to the

Hong Kong offences falling within the description of offences specified in the schedule to

the Ordinance.”      (Filing No. 81, Affidavit, ¶ 9.)   This procedure was followed in

Ramanathan’s case when the Surrender Order recited the following offenses: “(1) offences

involving the unlawful use of computers; and (2) conspiracy to commit offences involving

the unlawful use of computers.” (Id., ¶¶ 13, 16.) The offenses charged in the Indictment

under Counts One, Twenty-two and Twenty-three “based on the facts as revealed in the

Request are all offences for which [Ramanathan’s] surrender has been ordered (Article

16(1)(a) of the Agreement).” (Id. ¶ 17.)

       Initially, the Court notes that the twenty-four page Indictment is complex.

Ramanathan’s argument that the government may prove the statutory elements of Counts

One, Twenty-two and 23 without the use of computers is unavailing. Count One, alleging

conspiracy under § 371, initially includes a list of definitions of terms including“online

brokerage,” “Internet Service Providers,” and “Internet protocol address.” (Filing No. 5, ¶¶

4-6.) The details of the alleged conspiracy refer, for example, to “access [of] a protected

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computer,” establishing unauthorized online brokerage accounts, and unauthorized online

sales of securities. (Id., ¶¶ 10a, 12(b)-(d).) The overt acts, required for proof of the alleged

violation of § 371, clearly involve computer use. (Id., ¶ 13.) Counts Twenty-two and

Twenty-three, alleging aggravated identity theft in violation of 18 U.S.C. §§ 1028A and 2,

incorporate ¶¶ 1-9 and 11-13 of the Indictment and therefore clearly involve the use of

computers. Therefore, as charged, the elements of Counts One, Twenty-two and Twenty-

three cannot be proven without the unlawful use of computers.

       Ramanathan also argues that the failure to include the following charges in the

Surrender Order further supports the dismissal of Counts One, Twenty-two and Twenty-

three: offenses relating to securities and futures trading (Filing No. 81, Treaty, Article

2(xiv)); and offenses involving obtaining property by theft or deception (Id., Article 2(x)).

Ramanathan asserts that the absence of these offense descriptions shows the Hong Kong

government’s intent to limit the scope of Ramanathan’s prosecution. This argument must

fail. First, “any” of the categories of offenses listed and appearing in the Surrender Order

shall support surrender. Therefore, the language of the Agreement indicates that the Hong

Kong government’s choice of offense descriptions need not be include every possible

category of offense. Also, as stated above, Counts One, Twenty-two and Twenty-three

clearly fall within the categories chosen by the Hong Kong government for the Surrender

Order. Finally, the evidence is unrefuted that the offenses charged in the Indictment

“based on the facts as revealed in the Request are all offences for which [Ramanathan’s]

surrender has been ordered.” (Filing No. 81, Affidavit, ¶ 17.)

       In conclusion, under the totality of the circumstances Ramanathan’s Surrender

Order encompassed Counts One, Twenty-two and Twenty-three of the Indictment.

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                                        CONCLUSION

      For the reasons discussed, the Report and Recommendation is adopted in its

entirety and the Defendant’s motion to dismiss is denied.

      IT IS ORDERED:

      1.     The Magistrate Judge’s Report and Recommendation (Filing No. 109) is

             adopted in its entirety;

      2.     The Statement of Objections to the Report and Recommendation (Filing No.

             111) is denied;

      3.     The Defendant’s Motion to Dismiss Counts One, Twenty-two and Twenty-

             three (Filing No. 65) is denied.

      DATED this 5th day of March, 2008.

                                                BY THE COURT:


                                                s/Laurie Smith Camp
                                                United States District Judge




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